Case 2:04-cr-20458-.]P|\/| Document 28 Filed 08/31/05 Page 1 of 3 Page|D 40

 

 

IN THE UNITED STATES DISTRICT COURT FII.ED pp
FOR THE WESTERN DISTRICT OF TENNESSEE ' " -- D-C-
WESTERN DIVISION 05 AUG 31 FH 3 5
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UNITED STATES OF AMERICA ) '1"5/1';";.'.`1.-`-` ""}
)
Plaintiff, )
)
VS ) CASE NO. 2:04CR20458-Ml
)
DARRYL RUDD )
)
Defendant. )
)

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Darryl Rudd, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau ofPrisons by reporting to TAFT CI, 1 500 Cadet Road, Taft, CA,
93268, by 2:00 p.m. on *FRIDAY.. SEPTEMBER 30.. 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerl< of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered to the facility named above.

ENTERED this the L$\ day of August, 2005

J PI-IIPPS McCALLA
I’I`ED STATES DISTRICT JUDGE

Thls document entered on the docket sheet m comp;iance
with Rule 55 and/or 32{@) rach on _cLZ;O_L g 2 §

 

Case 2:O4-cr-20458-.]P|\/| Document 28 Filed 08/31/05 Page 2 of 3 Page|D 41

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

   

UNITED sTATE DRISTIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20458 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listedl

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

